              Case 2:12-cr-00169-TLN Document 120 Filed 11/15/12 Page 1 of 4


 1   Michael E. Hansen [SBN 191737]
     Attorney at Law
 2   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     MAJOR NORTON
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:12-CR-00169 MCE
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   MICHAEL LOTT, et al.
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff; Michael
18   Hansen, attorney for defendant Major Norton; Dan Koukol, attorney for defendant Lawrence
19   Nelson; Olaf Hedberg, attorney for defendant Gaylord Franklin; Kelly Babineau, attorney for
20   defendant Eric Robinson; Hayes Gable , attorney for Clifford Bullock, Gilbert Roque, attorney
21   for Dante Barbarin, Christopher Haydn-Myer, attorney for Eileen Knight, Robert Holley,
22   attorney for defendant Damian Peterson, and Ronald Peters, attorney for Mikel Brown, that the
23   previously-scheduled status conference date of November 8, 2012, be vacated and the matter
24   set for status conference on February 28, 2013, at 9:00 a.m.
25          This continuance is requested to allow counsel additional time to review discovery with
26   the defendants, to examine possible defenses and to continue investigating the facts of the case.
27   Also, it is anticipated that a status conference will be scheduled in related case number 2:11-
28   CR-00190 MCE on February 28, 2013, at 9:00 a.m.


                                                    1
     Stipulation and Order to Continue Status Conference
              Case 2:12-cr-00169-TLN Document 120 Filed 11/15/12 Page 2 of 4


 1          The Government concurs with this request.
 2          Further, the parties agree and stipulate the ends of justice served by the granting of such
 3   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
 4   that time within which the trial of this case must be commenced under the Speedy Trial Act
 5   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 6   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 7   stipulation, November 8, 2012, to and including February 28, 2013.
 8          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 9          IT IS SO STIPULATED.
10   Dated: November 6, 2012                              Respectfully submitted,
11                                                        /s/ Michael E. Hansen
                                                          MICHAEL E. HANSEN
12                                                        Attorney for Defendant
                                                          MAJOR NORTON
13
     Dated: November 6, 2012                              /s/ Michael E. Hansen for
14                                                        DAN KOUKOL
                                                          Attorney for Defendant
15                                                        LAWRENCE NELSON
16   Dated: November 6, 2012                              /s/ Michael E. Hansen for
                                                          OLAF HEDBERG
17                                                        Attorney for Defendant
                                                          GAYLORD FRANKLIN
18
     Dated: November 6, 2012                              /s/ Michael E. Hansen for
19                                                        HAYES GABLE, III
                                                          Attorney for Defendant
20                                                        CLIFFORD BULLOCK
21   Dated: November 6, 2012                              /s/ Michael E. Hansen for
                                                          KELLY BABINEAU
22                                                        Attorney for Defendant
                                                          ERIC ROBINSON
23
     Dated: November 6, 2012                              /s/ Michael E. Hansen for
24                                                        ROBERT HOLLEY
                                                          Attorney for Defendant
25                                                        DAMIAN PETERSON
26   Dated: November 6, 2012                              /s/ Michael E. Hansen for
                                                          GILBERT ROQUE
27                                                        Attorney for Defendant
                                                          DANTE BARBARIN
28


                                                    2
     Stipulation and Order to Continue Status Conference
             Case 2:12-cr-00169-TLN Document 120 Filed 11/15/12 Page 3 of 4


 1   Dated: November 6, 2012                       /s/ Michael E. Hansen for
                                                   CHRISTOPHER HAYDN-MYER
 2                                                 Attorney for Defendant
                                                   EILEEN KNIGHT
 3
     Dated: November 6, 2012                       /s/ Michael E. Hansen for
 4                                                 RONALD PETERS
                                                   Attorney for Defendant
 5                                                 MIKEL BROWN
 6   Dated: November 6, 2012                       BENJAMIN B. WAGNER
                                                   United States Attorney
 7
                                                   By: /s/ Michael E. Hansen for
 8                                                 JASON HITT
                                                   Assistant U.S. Attorney
 9                                                 Attorney for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               3
     Stipulation and Order to Continue Status Conference
                             Case 2:12-cr-00169-TLN Document 120 Filed 11/15/12 Page 4 of 4


 1                                                            ORDER
 2                          The Court, having received, read, and considered the stipulation of the parties, and
 3   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
 4   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
 5   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
 6   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
 7   specifically finds that the failure to grant a continuance in this case would deny defense
 8   counsel to this stipulation reasonable time necessary for effective preparation, taking into
 9   account the exercise of due diligence. The Court finds that the ends of justice to be served by
10   granting the requested continuance outweigh the best interests of the public and the defendants
11   in a speedy trial.
12                          The Court orders that the time from the date of the parties’ stipulation, November 6,
13   2012, to and including February 28, 2013, shall be excluded from computation of time within
14   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
15   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to
16   prepare). It is further ordered that the November 8, 2012, status conference shall be continued
17   until February 28, 2013, at 9:00 a.m.
18                          IT IS SO ORDERED.
19
20   Dated: November 14, 2012
21                                                          __________________________________
22                                                          MORRISON C. ENGLAND, JR
                                                            UNITED STATES DISTRICT JUDGE
23
     DEAC_Signatu re-END:




24
25
26   c4d6b0d3
27
28


                                                                  4
     Stipulation and Order to Continue Status Conference
